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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                          :
                                                  :
               v.                                 :            No. 3:07cr120 (SRU)
                                                  :
AARON CROSS, ET AL.                               :


                                              ORDER

       The indictment in the above-captioned case, returned on May 22, 2007, named seven

defendants. The government’s evidence includes many hours of wiretap recordings obtained

pursuant to court order.

       By order of the court, the defendants in this case will be tried beginning on November 19,

2007, with jury selection scheduled for November 2, 2007.

       The court finds that the above-captioned case is unusual and complex due to, among

other things, the number of defendants, and the massive amount of discovery produced by the

government. In considering and balancing the factors set forth in 18 U.S.C. § 3161(h)(8)(B)(I)

through (iv), the court finds that, pursuant to 18 U.S.C. § 3161(h)(8)(A), the ends of justice,

including the defendants’ interests in effective counsel and adequate trial preparation, and the

court’s interest in the orderly administration of justice, outweigh the best interest of the public

and the defendants in a speedy trial. Therefore, the period from the arraignment of each

defendant through the trial date is not an unreasonable delay and is excludable from the

computation of time within which trial must commence under the Speedy Trial Act.
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It is so ordered.

Dated at Bridgeport, Connecticut, this 12th day of July 2007.


                                               /s/ Stefan R. Underhill
                                             Stefan R. Underhill
                                             United States District Judge
